      Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                             No. 3D22-2145
                       Lower Tribunal No. F22-9505
                          ________________


                             Andrew Martinez,
                                Appellant,

                                     vs.

                           The State of Florida,
                                Appellee.



      An Appeal from the Circuit Court for Miami-Dade County, Tanya
Brinkley, Judge.

      Carlos J. Martinez, Public Defender, and Susan S. Lerner, Assistant
Public Defender, for appellant.

      Ashley Moody, Attorney General, and Ivy R. Ginsberg, Assistant
Attorney General, for appellee.


Before LOGUE, C.J., and EMAS and SCALES, JJ.

     SCALES, J.
         Asserting that the trial court fundamentally erred by allowing testimony

that allegedly violated an order granting appellant Andrew Martinez’s pre-

trial motion in limine, Martinez appeals his conviction for resisting an officer

without violence.1 We affirm because the record reveals no fundamental

error.

         On May 23, 2022, police officers were looking for Martinez in

connection with a burglary and auto theft. After the officers encountered

Martinez outside his sister’s house, Martinez eluded them by entering the

dwelling and attempting to hide in the attic. The officers apprehended and

arrested him. Prior to trial, the trial court granted Martinez’s motion in limine

that sought to prohibit witnesses from testifying regarding either Martinez’s

open burglary case or any other crimes uncharged in the instant case.

         Because the officers had entered the dwelling without a warrant, the

trial court instructed the jury on the “hot pursuit” exception to the warrant

requirement. Without objection, the jury was given the following instruction:

         Hot pursuit, you are permitted to find that an officer was engaged
         in a lawful execution of a legal duty, if you find that the officer
         was in hot pursuit of the Defendant. Ladies and gentlemen, an
         officer in hot pursuit – pursuit may enter the premises without a
         search warrant if there is probable cause to believe that a
         suspect of a recently committed felony has entered the premises.

1
  Martinez was charged with resisting an officer with violence pursuant to
section 843.01 of the Florida Statutes and was convicted of the lesser
included offense.

                                         2
      At trial, two arresting officers testified, respectively and without defense

objection, that: “We had probable cause to make an arrest for multiple – for

cases” and “We were there for a previous case, so –.” The jury heard no

specific testimony relating to uncharged offenses. The jury returned a guilty

verdict and the trial court sentenced Martinez to one hundred and eighty

days in jail.

      On appeal, Martinez cites three cases2 for the proposition that the trial

court fundamentally erred by allowing the officers to provide any testimony

as to why they were pursuing Martinez. The instant case, though, is readily

distinguishable from Edwards, Ward and Tillman. In each of these cited

cases, the jury was allowed to hear explicit details of the uncharged crimes.

Edwards, 311 So. 3d at 258; Ward, 59 So. 3d at 1223; Tillman, 964 So. 2d

at 789. In this case, the officers’ testimony merely explained their pursuit of

Martinez to establish that the arrest was lawful, which is an element of

resisting an officer without violence and did not violate the order granting

Martinez’s motion in limine.3



2
 Edwards v. State, 313 So. 3d 255 (Fla. 2d DCA 2021); Ward v. State, 59
So. 3d 1220 (Fla. 4th DCA 2011); Tillman v.State, 964 So. 2d 785 (Fla. 4th
DCA 2007). While none of these are fundamental error cases, the appellate
court in each instance concluded that testimony of an uncharged crime was
prejudicial to the defendant.


                                        3
      Affirmed.




3
  Even if the officers’ verbal stumbles and the trial judge’s oral delivery of the
subject jury instruction somehow could be considered violations of the
motion in limine, there were no contemporaneous objections, and we discern
in them neither a prejudice to Martinez nor a fundamental error that amounts
to a denial of a right to due process. See Louidor v. State 162 So. 3d 305,
323 n.15 (Fla. 3d DCA 2015) (Emas, J. dissenting) (“The Supreme Court has
also characterized as ‘fundamental,’ error which goes to the foundation of
the case, amounting to a denial of due process.”).

                                        4
